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14   and OTTOMOTTO LLC

15

16                                 UNITED STATES DISTRICT COURT

17                                NORTHERN DISTRICT OF CALIFORNIA

18                                       SAN FRANCISCO DIVISION

19   WAYMO LLC,                                              Case No.      3:17-cv-00939-WHA

20                          Plaintiff,                       SUPPLEMENTAL DECLARATION
                                                             OF SCOTT BOEHMKE IN SUPPORT
21          v.                                               OF DEFENDANTS’ SUR-REPLY TO
                                                             PLAINTIFF WAYMO LLC’S
22   UBER TECHNOLOGIES, INC.,                                MOTION FOR PRELIMINARY
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                       INJUNCTION
23
                            Defendants.                      Date:    May 3, 2017
24                                                           Time:    7:30 a.m.
                                                             Ctrm:    8, 19th Floor
25                                                           Judge:   The Honorable William Alsup

26                                                           Trial Date: October 2, 2017

27
            UNREDACTED VERSION OF DOCUMENT SUBMITTED UNDER SEAL
28

     SUPPLEMENTAL BOEHMKE DECL. ISO DEFENDANTS’ SUR-REPLY TO WAYMO’S PRELIMINARY INJUNCTION MOTION
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1    transmit lens, would create a curved focal plane instead of a flat focal plane. The geometry of

2    this curve is defined by the focal length of the lens.

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13                                                  Figure 4

14          8.      Figures 5.A and 5.B show true and accurate annotated excerpts of a printed circuit

15   board layout with three laser diodes die attached and wire bonded to bond pads that Uber had

16   created on March 29, 2016 to illustrate how tightly we could pack the laser diodes and drivers on

17   a single printed circuit board (PCB). I understand that the layout in Figure 5.A was previously

18   produced to Waymo as UBER00008423, and I informed Waymo’s attorney to the existence of

19   this document during my deposition in this case.7 Figure 5.B is an enlarged and excerpted view

20   of the same layout that more clearly illustrates the placement of the laser diodes and the bond

21   pads along the edge of the PCB. As this alternative view shows, we were able to reduce the

22   spacing between the laser diodes down to 2.3 millimeters.

23

24

25

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27   7
      See Boehmke Dep. 63:17-25, April 17, 2017. A true and correct excerpt of this section of my
28   deposition is attached as Exhibit E to this declaration.

     SUPPLEMENTAL BOEHMKE DECL. ISO DEFENDANTS’ SUR-REPLY TO WAYMO’S PRELIMINARY INJUNCTION MOTION
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